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Exhibit A
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COMMONWEALTH OF MASSACHUSETTS

 

 

PLYMOUTH, ss . PLYMOUTH SUPERIOR COURT
DOCKET NO.
)
BARBARA BOSWORTH, }
)
PLAINTIFF )
) COMPLAINT AND JURY CLAIM
v. )
)
THE FRESH MARKET, INC., )
)
DEFENDANT )
)

 

THE PARTIES

1. The Plaintiff, Barbara Bosworth, is an individual residing in Braintree, Norfolk County,
Massachusetts.

2. The Defendant, The Fresh Market, Inc. is a corporation with a principal place of business
located at 628 Green Valley Road, Suite 500, Greensboro, North Carolina with a retail
location in Hingham, Plymouth County, Massachusetts.

JURISDICTION

3. This is a fall down incident that occurred on or about October 22, 2020 at or around the
premises owned and/or controlled by the Defendant located at 11 Essington Drive,
Hingham, Plymouth County, Massachusetts.

4, Atall relevant times the Defendant was the owner/controller of the aforesaid premises.

5. The aforesaid event caused the Plaintiff to suffer substantial injuries, as well as medical

expenses.
a

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COUNT ONE
NEGLIGENCE

6. On or about October 22, 2020, the Plaintiff fell while on the Defendant’s premises located
at 11 Essington Drive, Hingham, Plymouth County, Massachusetts when she was struck by
a shopping cart full of groceries that a cashier had pushed into her.

7. The Plaintiff, who at all relevant times was lawfully upon said premises, was acting with
due care and caution, and at no point did she contribute to or cause the injuries she
suffered in this loss.

8. The aforesaid accident was caused by the Defendant negligently failing to maintain a safe
premises.

9. As a result thereof, the Plaintiff was caused to sustain injuries.

10. Asa direct and proximate result of the negligence and carelessness of the Defendant, the
Plaintiff sustained serious and permanent personal injuries, suffered great pain of body
and mind, and was obliged to expend monies for medical care and attendance.

11. The Plaintiff was at all times, pertinent to this Complaint, in the exercise of due care.
WHEREFORE, the Plaintiff demands judgment against the Defendant in an amount which

the Court would deem fair and reasonable, plus interest, costs, and attorney’s fees,

THE PLAINTIFF DEMANDS TRIAL BY JURY ON ALL ISSUES SO TRIABLE.
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Dated: March 29, 2021

Respectfully submitted,
The Plaintiff,

By her Attorneys,

PA

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